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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

In re CASSAVA SCIENCES INC.                               §
SECURITIES LITIGATION                                     §        Master File No. 1:21-cv-00751-DAE
                                                          §
                                                          §                    CLASS ACTION
This Document Relates to:                                 §
                                                          §
                  ALL ACTIONS                             §
                                                          §

    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO SUPPLEMENT THE
                       CONSOLIDATED COMPLAINT

         Plaintiffs’ Motion to Supplement seeks to almost double the putative class period based

solely on a single document provided to a news outlet by an anonymous person claiming to be

connected to an investigation into Dr. Hoau-Yan Wang by the City University of New York. See

ECF 129. That document cannot hold that weight. 1 Characterized by Plaintiffs as a “conclusion”
                                                              0F




or “finding” attributable to CUNY, the document was disavowed by CUNY. See Ex. B (CUNY

statement). CUNY refused to comment on the accuracy of the information in the document because

no final action in the investigation had taken place. See id. CUNY instead announced a

comprehensive investigation into the process itself and meanwhile stayed any investigation into

Dr. Wang’s research. See id.

         Even at the pleading stage, the document cannot support Plaintiffs’ proposed supplement.

In fact, setting aside the document’s validity, it contained no statement that can fairly be

characterized as corrective of any alleged misrepresentation; parroted allegations that had been




1
  The document is only available for download through the October 12, 2023, Science article that Plaintiffs refer to
in their proposed supplemental pleadings. See ECF 129-3; see also Ex. A (Science article, which can also be found
here: https://shorturl.at/fGNQ). However, the document is password-protected and cannot be filed with the Court
using the ECF filing system. The document can be found at the following URL: https://shorturl.at/ipB79.
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public for years; and had no sustained effect on the price of Cassava’s stock, if it had any effect at

all.

       As a result, Plaintiffs’ proposed supplement fails to identify a corrective disclosure of new

and relevant truth to the market and fails to plead that it was “more probable than not” that the

corrective disclosure caused a “substantial” drop in the stock’s price, both of which are required

to plead loss causation. See Pub. Emps. Ret. Sys. Of Mississippi, Puerto Rico Tchrs. Ret. Sys. V.

Amedisys, Inc., 769 F.3d 313, 321 (5th Cir. 2014). Because Plaintiffs cannot plausibly plead loss

causation during the proposed supplemental class period, their attempt to drastically expand the

class period is futile and should be denied.

                                         BACKGROUND

A.     Plaintiffs’ Complaint and Supplemental Allegations

       On August 18, 2022, Plaintiffs filed their Consolidated Complaint of the Federal Securities

Laws. ECF 68 (the Complaint). Among other things, Plaintiffs allege that Defendants

misrepresented the potential efficacy of simufilam, a drug being developed by Defendant Cassava

Sciences, Inc. to treat Alzheimer’s Disease. Specifically, Plaintiffs claim that Defendants

overstated the strength of the pre-clinical research (performed by Dr. Wang) that supports

simufilam’s mechanism of action and misrepresented the results of certain clinical studies of the

drug. See generally Complaint Section VI.

       The Complaint further alleges that on August 25, 2021, a Citizen Petition filed with FDA

by David Bredt and Geoffrey Pitt partially revealed the truth to the market by identifying anomalies

in Dr. Wang’s pre-clinical research and Cassava’s clinical study results. See generally id. Section

VII. Plaintiffs contend that Defendants attempted to conceal these anomalies from investors

following the initial Citizen Petition filing, but that the truth about the science behind simufilam




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and the drug’s potential efficacy was revealed in a series of additional disclosures until July 26,

2022, the end of the putative class period. See generally id. Sections VIII & IX.

         Plaintiffs now seek to nearly double the class period to October 13, 2023 by adding seven

paragraphs to the “Loss Causation and Economic Loss” section of their Complaint. See ECF 129-

3. The supplemental paragraphs allege that on October 12, 2023, Science magazine revealed “for

the first time that CUNY investigators had found scientific misconduct involving 20 research

papers about simufilam.” See id. (Supp. ¶ 1). Plaintiffs’ supplemental allegations further claim that

Cassava’s stock price dropped approximately 30% as a result of the Science article’s disclosures

about the purported CUNY document. See id. (Supp. ¶ 5). 2              1F




         Notably, Plaintiffs do not append the relevant Science article or CUNY’s public response

to it to their Motion to Supplement. Nor do Plaintiffs direct the Court to the purported CUNY

document that the Science article was predicated on. However, the Court may take judicial notice

of the article, the document, and CUNY’s response to consider whether Plaintiffs’ supplemental

allegations state a valid claim. See, e.g., Collins v. Morgan Stanley Dean Witter, 224 F.3d 496,

498–99 (5th Cir. 2000) (“Documents that a defendant attaches to a motion to dismiss are

considered part of the pleadings if they are referred to in the plaintiff's complaint and are central

to her claim.”). To that end, Defendants have attached the Science article to this Opposition as

Exhibit A, CUNY’s response as Exhibit B, and have provided the Court with a link to the purported

CUNY document (https://shorturl.at/ipB79). With the actual documents now before it the Court




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  As Plaintiffs noted in their Notice of Related Case, ECF 142, a securities action was brought under § 10(b) and §
20(a) of the Securities Exchange Act of 1934 in the Northern District of Illinois on February 2, 2024, against
Defendants Cassava Sciences, Inc., Remi Barbier, and Eric Schoen. That action, like Plaintiffs’ proposed supplement,
seeks to certify a putative class from August 18, 2022 to October 12, 2023, and seeks also to rely on the Science article
and purported CUNY document as a corrective disclosure, too. Defendants intend to move to dismiss that action
following the appointment of a lead plaintiff.


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will see that Plaintiffs’ representations in their proposed supplemental pleadings are both

incomplete and inaccurate.

B.     The Purported CUNY Document

       First, the purported CUNY document is not what Plaintiffs’ supplemental allegations, ECF

129-3, describe it to be. Plaintiffs allege the document is a “’Final’ 50-page report,” which revealed

what “CUNY investigators” either “found” or “concluded.” Id. (Supp. ¶¶ 1, 2). But the authenticity

and accuracy of the document is questionable at best. In fact, shortly after the Science article was

published, CUNY corrected the record:

               On October 12, 2023, Science Magazine published an article – that later
               appeared in other publications – regarding The City University of New
               York’s investigation into allegations of misconduct related to certain
               research conducted by Dr. Hoau-Yan Wang, a faculty member at the City
               College of New York. Consistent with its policy, CUNY will not comment
               on the accuracy of the investigation referenced in the articles because no
               final action as to this investigation has been taken.

               CUNY is committed to ensuring that its investigative processes are held to
               the highest procedural and ethical standards and that the fairness of the
               proceedings is preserved for all parties. To that end, any finding regarding
               allegations of research misconduct must be reliable and credible. Because
               questions regarding the confidentiality and integrity of this investigation
               have been raised, CUNY will stay the underlying inquiry into the
               allegations regarding Dr. Wang’s research until such time as the
               University completes a comprehensive investigation of the process.

Ex. B (emphasis added). And not even the Science article provides a basis for attributing the

document to CUNY or any allegations regarding the document’s authenticity. See Ex. A (noting

the document was merely “labeled ‘Final’” and was provided to the magazine by someone who

“requested anonymity because they [were] not authorized to share it.” (emphasis added)).

       Second, even setting aside that the document was explicitly disavowed as any investigation

conclusion, the document itself does not contain any of the conclusions Plaintiffs allege about data

or image manipulation by Dr. Wang or Dr. Burns. Plaintiffs allege that “CUNY investigators found



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scientific misconduct involving 20 research papers about simufilam” and suggest that such

misconduct was related to “images that were improperly manipulated.” ECF 129-3 (Supp. ¶ 1).

But the document clearly states that it could not “make an objective assessment for even a single

allegation.” See https://shorturl.at/ipB79 at 7 (emphasis added). The document further disclaims

reaching any conclusion that Dr. Wang or Dr. Burns manipulated, fabricated, or otherwise

misrepresented any research related to simufilam, repeatedly stating that it was “impossible to

address the allegations objectively” and that it could not “therefore render a conclusion regarding

the misconduct in the allegation[s].” See, e.g., id. (Allegations 1 through 8, 12, 14, 19, 23, 24, 27,

19, and 31); see also id. at 50 (“it is not possible to make definitive assessments for the 31 specific

allegations.”).

        Third, the document did not reveal any new information to the market. The document states

that CUNY’s Vice Provost for Research commissioned an investigation committee to assess

already public allegations of purported research misconduct made against Dr. Wang by the Citizen

Petition authors and others, which were collected by and reported to CUNY by the National

Institutes of Health’s Office of Research Integrity. See id. at 1-2. Indeed, all of the allegations

discussed in the report that related to simufilam or Cassava were already in the Citizen Petition

filings or other public filings, sometimes years before the Science article’s publication, and are

already alleged by Plaintiffs as corrective disclosures. See, e.g., Complaint Section V.G.

        Further, the work that the committee supposedly performed would add nothing to the

Citizen Petition filings, i.e. to the already public allegations against Dr. Wang regarding simufilam

or Cassava. The committee was comprised not of investigative specialists but “research active

faculty.” https://shorturl.at/ipB79 at 1. These faculty purportedly “investigated” the already public

allegations by examining western blot images in the publicly available versions of Dr. Wang’s




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research papers. See id. at 7. In other words, the committee did exactly what the Citizen Petition

authors had already done over two years before and without the aid of an independent image

consultant or other relevant expert. See id. at 3.

        The only independent conclusion that the document purported to reach regarding Dr. Wang

was that his “failure to store original data and maintain research records [was] reckless and clearly

not in keeping with the standard practices in the field.” Id. at 7. Plaintiffs allege that this conclusion

revealed that “neither Wang nor Burns could have provided original data to the scientific journals

investigating the alleged data manipulation in Cassava’s pre-clinical and clinical research.” ECF

129-3 (Supp. ¶ 2). But, according to Plaintiffs’ own prior pleadings, the market already knew that

too. See Complaint ¶¶ 390-404 409, 421, 422.

        Finally, it is misleading to assert that the Science article or associated document “caused

Cassava’s stock price to decline by over 30%.” Pls. Motion at 20. Although Cassava’s stock price

did decline from $18.46 to $12.64 between October 12 and October 16, 2023, the decline was

nothing more than a blip. In fact, the stock’s price more-than recovered to $19.89 by October 27,

just 9 trading days later, when CUNY issued its statement declining to adopt the Report or its

conclusions. The stock price has not fallen below $19 since.




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  Figure 1 – Cassava Sciences, Inc.’s Stock Chart (October 1, 2023 to February 29, 2024)




       In short, Plaintiffs’ attempted amendment is based on a document of unknown origin and

questionable accuracy that contained no new information. And any ephemeral drop in the stock

price that may have resulted was recovered when CUNY promptly refused to adopt it and instead

announced that it was conducting its own investigation of the process and the document’s integrity.

                                     LEGAL STANDARD

       “Under Rule 15(d), the court may permit a party to file a supplemental pleading setting

forth transactions or occurrences or events which have happened since the date of the pleading

sought to be supplemented.” Burns v. Exxon Corp., 158 F.3d 336, 343 (5th Cir. 1998). But as with

other amended pleadings, a court should not allow a supplemental pleading under Rule 15(d) if

the new allegations would not survive Rule 12 scrutiny. See Guardiola v. Thaler, No. W-11-CA-

171, 2012 WL 12877961, at *2 (W.D. Tex. Nov. 21, 2012) (recognizing that the Fifth Circuit “has

indicated that the same factors considered in a Rule 15(a) inquiry apply equally to Rule 15(d)”

(citing Chemetron Corp. v. Business Funds, Inc., 682 F.2d 1149, 1194 (5th Cir. 1982)). In other

words, an amendment would be futile if it would “fail to state a claim upon which relief could be

granted.” Stripling v. Jordan Prod. Co., LLC, 234 F.3d 863, 873 (5th Cir. 2000). To survive a Rule


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12(b)(6) motion to dismiss, “a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

And it is noteworthy that “[w]hile the text of Rule 15(a) provides that leave should be freely

granted, the text of Rule 15(d) does not similarly provide.” Burns, 158 F.3d at 343.

                                            ARGUMENT

        The federal securities laws are not intended to, and do not, “provide investors with broad

insurance against market losses”; rather, the securities laws are designed “to protect [investors]

against those economic losses that misrepresentations [or omissions] actually cause.” Dura

Pharms., Inc. v. Broudo, 544 U.S. 336, 345 (2005) (emphasis added). This is why a plaintiff must

plead “loss causation” to state a claim for securities fraud. See id.; 15 U.S.C. § 78u-4(b)(4).

Plaintiffs’ attempt to nearly double the class period is futile here because there is no plausible

allegation of loss causation during the new timeframe. Loss causation in fraud-on-the-market

cases, like this one, can be demonstrated by:

    •   “(1) identifying a ‘corrective disclosure’ (a release of information that reveals to the
        market the pertinent truth that was previously concealed or obscured by the company’s
        fraud)”;

    •   “(2) showing that the stock price dropped soon after the corrective disclosure”; and

    •   “(3) eliminating other possible explanations for this price drop, so that the factfinder can
        infer that it is more probable than not that it was the corrective disclosure—as opposed to
        other possible depressive factors—that caused at least a ‘substantial’ amount of price
        drop.”

Amedisys, 769 F.3d at 320–21. Plaintiffs’ supplemental pleadings do not meet this standard for

two reasons. First, the document revealed nothing to the market. Second, given the prompt and

sustained recovery of the stock price after the brief decline following the Science article

publication, Plaintiffs have not alleged it was “more probable than not” that the corrective

disclosure caused a “substantial” drop in the stock’s price. Id.



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A.     The Science Article and CUNY Report Did Not Reveal New and Relevant Truth to
       the Market and Are Therefore Not Corrective Disclosures

       Plaintiffs’ proposed supplement does not seek to add new claims or new alleged false

statements by the Defendants; it instead seeks to extend the class period to October 2023 based on

a disavowed document of unknown origin as an additional purported corrective disclosure. But the

document is not a corrective disclosure for multiple reasons.

       A “corrective disclosure” is “a release of information that reveals to the market the

pertinent truth that was previously concealed or obscured by the company’s fraud.” Amedisys, Inc.,

769 F.3d at 321. For truth to be “pertinent” it must “make the existence of the actionable fraud

more probable than it would be without that alleged fact,” that is, “reveal to the market the falsity

of the prior misstatements.” Id. at 321-22. Additionally, “pertinent truth” in a corrective disclosure

must be new; otherwise, nothing has been revealed. See Emps.’ Ret. Sys. V. Whole Foods Mkt.,

Inc., 905 F.3d 892, 904 (5th Cir. 2018) (“[T]he corrective disclosure must reveal some information

not already known to the market.”).

       The proposed supplemental pleading does not plausibly allege a new or corrective

disclosure. In the first instance, the Court should not credit Plaintiffs’ allegations regarding the

alleged CUNY document as its authenticity is questionable at best. There is no plausible basis to

conclude that the document is authentic or accurate because there is no indication whatsoever who

Science received the document from and CUNY has refused to claim it as its own. Cf. Edge Sys.

LLC v. Aguila, No. 1:14-CV-24517-KMM, 2015 WL 6447502, at *7 (S.D. Fla. Oct. 26, 2015)

(striking pleadings which relied upon “a document of questionable authenticity”).

       Further, neither the Science article nor the document revealed any new or pertinent

information to the market. The committee’s repeated insistence that it was “impossible to address

the allegations objectively,” that it could not “make an objective assessment for even a single



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allegation,” or that it therefore would not “render a conclusion regarding the misconduct in the

allegation[s]” does not make Plaintiffs’ allegations of fraud in the Complaint more likely or reveal

the falsity of any prior alleged misstatement. See https://shorturl.at/ipB79. Also, as explained

above, all of the allegations in the document that related to simufilam or Cassava (and are therefore

at all relevant to Plaintiffs’ claims) were in the Citizen Petition filings or other public sources and

are already pleaded in Plaintiffs’ Complaint as corrective disclosures. Compare id. (Allegations

4, 7, 9, 17, 18, 19, 21, 22, 23, 24, 25, 29, and 30) with Complaint at 35-82 104-142, 156-58. And

the process the document describes for evaluating those allegations was at best the same as the

process the Citizen Petition authors employed. Thus, at most, the document merely serves to

“confirm” details of already corrective disclosures Plaintiffs have already alleged. See, e.g., id. at

45. But “[c]onfirmatory information is already known to the market and, having been previously

digested by the market, will not affect the stock price.” Archdiocese of Milwaukee Supporting

Fund, Inc. v. Halliburton Co., 597 F.3d 330, 337 (5th Cir. 2010).

       Similarly, the document’s statement that “Dr. Wang’s failure to store original data and

maintain research records [was] reckless and clearly not in keeping with the standard practices in

the field,” https://shorturl.at/ipB79 at 7, does not bear on any alleged misrepresentation by

Defendants. Plaintiffs allege that Defendants overstated the results of (or concealed anomalies

with) pre-clinical research and clinical studies related to simufilam, not that Defendants touted Dr.

Wang’s recordkeeping. Indeed, neither Plaintiffs’ Complaint nor their proposed supplement

include any allegations that would suggest that Defendants were aware that Dr. Wang’s

recordkeeping was sub-par. Cf. Greenberg v. Crossroads Sys., Inc., 364 F.3d 657, 667 (5th Cir.

2004) (the allegedly corrective disclosure was not sufficiently related to allegedly false earlier

statements about the speed of new routers because the disclosure made “no reference to increased




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router speed”); In re Dell Inc., Sec. Litig., 591 F.Supp.2d 877, 910 (W.D. Tex. 2008) (“The

disappointing earnings or expected earnings statements identified by the Plaintiffs fail to reveal

the falsity of any of Dell's prior representations, and therefore do not qualify as a corrective

disclosure.”).

       Plaintiffs contend in their supplemental allegations that the document’s record-keeping

allegations against Dr. Wang revealed that “neither Wang nor Burns could have provided original

data to the scientific journals investigating the alleged data manipulation in Cassava’s pre-clinical

and clinical research.” ECF 129-3 (Supp. ¶ 2). But again, according to Plaintiffs’ own prior

pleadings, the market already knew that. See Complaint ¶¶ 390-404 409, 421, 422.

B.     Plaintiffs Do Not Plausibly Plead That the Alleged Disclosure Caused Any Drop in
       Cassava’s Stock Price

       On top of their failure to plausibly allege a new corrective disclosure, Plaintiffs also cannot

demonstrate that “the stock price dropped soon after the corrective disclosure” and eliminate “other

possible explanations for th[e] price drop” to adequately plead loss causation. Amedisys, Inc., 769

F.3d at 321. This failure to plead facts making it “more probable than not that it was the corrective

disclosure—as opposed to other possible depressive factors—that caused at least a ‘substantial’

amount of price drop” dooms the new allegations. Id.

       As explained above, Cassava’s stock price experienced a “quick and sustained price

recovery” following the very brief alleged drop, which should “refute[] the inference that the

alleged concealment of th[e] particular fact caused any material drop in the stock price.” Wochos

v. Tesla, Inc., 985 F.3d 1180, 1198 (9th Cir. 2021) (citing T. Hazen, Law of Securities Regulation

§ 12.93 (2020 update) (“If the price movement of the stock in question is not in sync with the

plaintiff's theory of recovery, loss causation will be extremely difficult, if not impossible, to

prove.”)); see also Bajjuri v. Raytheon Techs. Corp., No. CV-20-00468-TUC-JCH, 2023 WL



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3650554, at *15 (D. Ariz. May 25, 2023) (finding that “loss causation allegations [were]

insufficient where a ‘modest’ drop in the stock prices coincide[d] with the disclosure of certain

news but then ‘recover[ed] very shortly after.’”).

       Further, the drop Plaintiffs rely upon—between October 12 and October 16—was far from

an anomaly in Cassava’s stock chart. Rather, it was consistent with the stock’s price movement

and volatility for over a year before the publication of the Science article. It is more likely that the

stock price was doing exactly what it had done for the prior 13 months, moving in volatile fashion,

than that the market was reacting to the document’s unknown origins, or even its inability to draw

relevant conclusions about allegations against Dr. Wang that had been publicly peddled for over

two years. Plaintiffs have done nothing to eliminate this “other possible explanation[] for th[e]

price drop.” Amedisys, Inc., 769 F.3d at 321.

                                          CONCLUSION

       For these reasons, the Court should deny Plaintiffs’ Motion to Supplement, ECF 129.




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Dated: March 7, 2024               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

The undersigned certifies that on March 7, 2024, a true and correct copy of the foregoing was

served upon each attorney of record through the Court’s CM/ECF system.


                                                    /s/ Gregg Costa________
                                                    Gregg Costa




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